                                                       UNITED STATES DISTRICT COURT
                                                      NORTHERN DISTRICT OF FLORIDA

                                                                              MEMORANDUM




UNITED STATES OF AMERICA
                                                            District of Columbia Case No:
-vs-                                                        1:21-mj-00198

TRISTAN CHANDLER STEVENS


DATE:           February 12, 2021

                Your Case No.: 1:21-mj-00198

TO:             United States District Court
                District of Columbia
                333 Constitution Avenue N.W.
                Washington, DC 20001

FROM:           Keri Igney, Courtroom Deputy for
                Hope T. Cannon, United States Magistrate Judge
                United States Courthouse
                One North Palafox Street
                Pensacola, Florida 32502

SUBJECT:        Rule 5 Proceedings

The above-styled case originated in your division. Enclosed please find copies of documents regarding
proceedings held in the Northern District of Florida in Pensacola, Florida wherein the following action
was taken:

INITIAL APPEARANCE: February 5, 2021
CHARGING DOCUMENT: Criminal Complaint/Arrest Warrant
CJA23; Appointment of Federal Public Defender for limited purposes
Waiver of Rule 5 Hearing: Identity Hearing waived.
Detention Hearing February 10, 2021
Preliminary Hearing February 10, 2021
Order Setting Conditions of Release
Order of Release with order to appear before Magistrate Judge Robin Meriweather February 18, 2021
at 1:00 p.m. Zoom instructions provided to Defendant and Defendant’s counsel.

Please sign and return a copy of this memorandum to confirm receipt.

Received: _______________________________________________________________________
